          Case 15-12416-JDW                        Doc 56          Filed 07/25/18 Entered 07/25/18 10:16:07                               Desc Main
 Fill in this information to identify the case:                    Document     Page 1 of 9
 Debtor 1              Danny Warren
                       _____________________________________________________________________


 Debtor 2              _____________________________________________________________________
 (Spouse, if filing)

                                         Northern District of Mississippi (Aberdeen)
 United States Bankruptcy Court for the: _____________________________________________________
                       15­12416
 Case number __________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                                                                                                             8
                                                                                                 Court claim no. (if known): _______________________
JPMorgan Chase Bank, National Association

                                                                                                 Date of payment change:
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                           10/01/2018
                                                                                                                                          _____________

Last 4 digits of any number you use to                                                          New total payment:
identify the debtor’s account:                                      9 ____
                                                                  ____ 7 ____
                                                                           8 ____
                                                                              7                                                            1631.16
                                                                                                                                          $________________
                                                                                                Principal, interest, and escrow, if any


Part 1:           Escrow Account Payment Adjustment

1.        Will there be a change in the debtor’s escrow account payment?
             No
          
          ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
              for the change. If a statement is not attached, explain why:



               Current escrow payment: $ _________________
                                          309.31                                                                                  373.93
                                                                                                           New escrow payment: $ _________________



Part 2:           Mortgage Payment Adjustment

2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?
          
          ✔   No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:



              Current interest rate: __________________%                                      New interest rate: __________________%

              Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

Part 3:           Other Payment Change


     3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
              Reason for change:



                  Current mortgage payment: $ _________________                                  New mortgage payment: $ _________________
Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 1
                     Danny Warren                                                                       15­12416
    Case
     Debtor 115-12416-JDW              Doc 56 Last
                                                 Filed
                                                    Name 07/25/18
                ________________________________________________________
                First Name    Middle Name                                EnteredCase
                                                                                 07/25/18         10:16:07
                                                                                     number (if known)             Desc Main
                                                                                                       ______________________
                                                Document           Page 2 of 9
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Esmeralda Munoz, a/k/a Esmer Munoz
      ______________________________________________________________
      Signature
                                                                                      07/24/2018
                                                                                Date _______________




 Print:______________________________________________________________
        Esmeralda Munoz, a/k/a Esmer Munoz                                       Vice President
                                                                                ____________________________________________________________
        First Name             Middle Name            Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@restricted.chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




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                   UNITED STATES  BANKRUPTCY
                             Document Page 3 of 9 COURT
                                         Northern District of Mississippi (Aberdeen)

                                                  Chapter 13 No. 15-12416
                                                  Judge: Jason D. Woodard

In re:
 Danny Warren
                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 26, 2018 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S.
Postal Service First Class Main Postage Prepaid


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                   Danny Warren
                                   203 McAlexander Rd

                                   Holly Springs MS 38635-8501


                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid
                                  Karen B. Schneller

                                  P.O. Box 417

                                  Holly Springs MS 38635

                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                  N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                  Locke D. Barkley
                                  Trustee
                                  6360 I-55 North
                                  Suite 140
                                  Jackson MS 39211



                                                        _______________________________________________
                                                        /s/Esmeralda Munoz, a/k/a Esmer Munoz
                                                        Vice President
                                                        JPMorgan Chase Bank, N.A.
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